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%A0 245B      (Rev. 06105) Judgment in a Criminal Case             #288
              Sheet I




                        SOUTHERN                                 District o f                                 ILLINOIS

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
         ROBERT EUGENE LEMMONS, JR,
                                                                        Case Number:           4:06CR40033-002-JPG

                                                                        USM Number:            07428-025

                                                                         Terry M. Green
                                                                        Defendant's Attorney
THE DEFENDANT:
Mpleaded guilty to count(s)           1,7.8 & 9 of the Indictment                                    cbDb llPlp2 1 2m7
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'Title & Section                   Nature of Offense                                                       Offense Ended            Count

                                    Substance Containing Methamphetamine



       The defendant is sentenced as provided in pages 2 though                10      of this judgment. The sentence is imposed pursuant to
the Sentencing Refom Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the Un/ted States anomey for this dlstnct within 30 da s of any change of name, rcs~dencc,
                                                                                             judgment are fufiy paid. If ordered to pay restlturion,
or mallin address until all fines, restitution, costs, and special assessments unposed by th~s
the defen%antmust notify thc coun and United States attorney of material changes in econonuc circumstances.




                                                                         J. Phil Gilbert                             District Judge
                                                                        Nameofludge                                            -
                                                                                                                    Title ofludge



                                                                         J d 7 4 A/; 2 ~ ~ 7
                                                                        Date
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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  120 months (120 months on Count 1 and 108 months on Count 7, 8 & 9 of the Indictment). All Counts to run concurrent with
  each other.


      I$ The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



           The defendant is remanded to the custody of the United States Marshal

           The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

      @ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL



                                                                                                   DEPUTY UNITED STATES MARSHAL
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              Sheet 3 -Supervised Release


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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  5 years (5 years on Count 1 and 3 years on Counts 7, 8 & 9 of the Indictment). All Counts to run concurrent with each
  other.


      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        fnture substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant sball cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a feeor restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of thls judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refram from excessive use of alcohol and shall not purchase, possess, use, distribute, or adm~n~ster
                                                                                                                                 any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pemussion to do so by the profation officer;
  10)                                                             ~ t or her at any t ~ m
           the defendant shall pcmut a prohat~onofficer to \ , ~ shlm                   at home or elsewhere and shall perm~tsonfi>cdt~on
                                                                                                                                        ot any
           contraband ohsewed m pla~nv~cwof the probation officer,
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as duccted by the rohatlon officer. the defendant shall notify third parties of risks that may be occas~onedby the defendant's cr~minal
           record or          history or characteristiqs and shall permit the probat~onofficer to make such not~ficationsand to confirm the
           defendant s sompl~ancew ~ t hsuch not~ficat~on requirement.
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search.
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly inwme whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
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           Sheet 5 -Criminal Monetary Penalties


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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal moneta~ypenalties under the schedule of payments on Sheet 6.

                     Assessment                                          -
                                                                         Fine                                  Restitution
 TOTALS            $ 400.00                                           $ 200.00                               $ 0.00



     The determination of restitution is deferred until   -.          An Amended Judgment in a Criminal Cme(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approx~matelypro on~oned ayment, unless spec~ficdotherwise in
     the priority order or percentage payment columnielow. However, pursuant to 18 L S F . j 36640, all nonfederal vlctlms must be pald
     before the Ulutcd States 1s pa~d.

 Name of Pavee                                                            Total*                Restitution Ordered      Prioritv or Percentape




 TOTALS                               $                       0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      Qf the interest requirement is waived for the          @ fme            restitution.
           the interest requirement for the           fine           restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
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           Sheet 6 - Schedule of Payments                       #293
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    I$   Lump sum payment of $                             due immediately, balance due

                 not later than                                  , Or
                 in accordance              C,         D,          E, or   Q ~ below;
                                                                                F     or

 B         Payment to begin immediately (may be combined with               C,          D, or       F below); or
 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    [7 Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release fiom imprisonment to a
         term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    @ Special instmctions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




 !inless the coun has express1 orderedotherwise,if this jud mcnt impuseb imprisonment, a ment ofcriminal monetary penalties is due dunn
 impnson,me~t All crMu.?moneu3: penaltws. except %ow payments made
 Responsibility Program are made to e clerk of the coun.
                                                                                      hug^
                                                                                        &e FedcraI Bureau of Prisons' I m t c               ina an cia?
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Paymenls shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (1)fine principal.
                                                       1
 ( 5 ) tine interest, (6) community restlhmon, (7) pena tlcs, and (8) costs, including cost of prosecution and coun costs.
